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 1
     THOMAS A. JOHNSON, #119203
     KRISTY M. HORTON, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 2560
 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
     Attorneys for Moctezuma Tovar
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                               )   Case No.: 2:11-cr-00296-WBS
     UNITED STATES OF AMERICA,                   )
10                                               )   STIPULATION AND [PROPOSED]
                   Plaintiff,                    )   ORDER MODIFYING CONDITIONS OF
11                                               )   RELEASE FOR MOCTEZUMA TOVAR,
         vs.                                     )   AMENDED
12   MOCTEZUMA TOVAR,                            )
                                                 )
13                 Defendant.                    )
                                                 )
14
15          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16   conditions of release for defendant, Moctezuma Tovar, may be modified to permit Mr.
17   Tovar to travel to Cancun, Mexico from June 15, 2019 to June 22, 2019 in order to
18   celebrate his aunt’s 50th wedding anniversary and his 50th birthday. Mr. Tovar shall
19   return to the Eastern District of California on or before June 23, 2019.
20          Brian Fogerty, Assistant United States Attorney, and Thomas A. Johnson, attorney
21   for Moctezuma Tovar, agree to this modification of the conditions of release. All other
22   previously ordered conditions of release remain in full force and effect.
23
24   IT IS SO STIPULATED.
25
26   Dated: May 6, 2019                                      /s/ Thomas A. Johnson
                                                             THOMAS A. JOHNSON
27
                                                             Attorney for Moctezuma Tovar
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 1
     Dated: May 6, 2019                                      McGREGOR W. SCOTT
 2                                                           United States Attorney
 3
                                                             /s/ Brian Fogerty
 4                                                           BRIAN FOGERTY
                                                             Assistant U.S. Attorney
 5
 6
 7
                                                 ORDER
 8
            IT IS HEREBY ORDERED that defendant Moctezuma Tovar may travel to
 9
     Cancun, Mexico to attend a family reunion from June 15, 2019 to June 22, 2019. In
10
     advance of his trip, Mr. Tovar shall provide proof of his travel and hotel accommodations
11
     to the Assistant United States Attorney.
12
            IT IS FURTHER ORDERED that the Clerk of the Court shall return Moctezuma
13
     Tovar’s passport. Mr. Tovar shall return his passport to the Clerk of the Court on the first
14
     business day following his return to the Eastern District of California on June 23, 2019.
15
16
            IT IS SO ORDERED.
17
18
     Dated: May 6, 2019
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